530 F.2d 321
    UNITED STATES of America, Plaintiff-Appellee,v.Jimmy Lee ENG, Defendant-Appellant.In re Jeremiah CASSELMAN.
    No. 75--1444.
    United States Court of Appeals,Ninth Circuit.
    Feb. 9, 1976.
    
      1
      Before CHAMBERS, Circuit Judge, and JAMESON,* District Judge.
    
    
      2
      The penalty order as to counsel Casselman, 527 F.2d 611, is modified to read:
    
    
      3
      'The respondent Casselman will pay the first $750.00 of the cost of the reporter's transcript to the reporter within 14 days from the date of filing of this order.'
    
    
      4
      Casselman also will proceed immediately to have a Form 21 signed by the reporter to cover the balance of the cost of the transcript and send it to this court, attention of the Motions Clerk.
    
    
      5
      The court considers the respondent's inattention to the case most aggravated, but it does appear that at the hearing on the order to show cause the cost of the transcript was underestimated.
    
    
      
        *
         Honorable William J. Jameson, Senior United States District Judge, District of Montana, sitting by designation.  Circuit Judge Koelsch did not participate
      
    
    